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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


  LAWYERS’ COMMITTEE FOR CIVIL
  RIGHTS and NATIONAL WOMEN’S
  LAW CENTER,

                  Plaintiffs,
                                                       Civil Action No. 18-0645 (EGS)
          v.

  OFFICE OF MANAGEMENT AND
  BUDGET,

                  Defendant.


                 JOINT STATUS REPORT AND PROPOSED SCHEDULE

        The parties, by counsel, respectfully submit this Joint Status Report and Proposed

Schedule for Further Proceedings in response to the Court’s Minute Order dated February 1,

2019.

        OMB completed its review and issued a final response to Request No. 17-450 on

February 28, 2019.

        As discussed in the parties’ previous joint status reports, the searches for the “Catchall”

request (Req. No. 17-452) yielded 6,555 potentially responsive documents that will also require

further review for responsiveness and release. The parties have not yet finalized a search and

review protocol for this request. The parties’ counsel held a teleconference on March 1, 2019, to

further confer on search parameters and explored possibilities for narrowing the review set.

OMB agreed to provide a document count by custodian and organization by March 8, 2019.

Plaintiff will also consider a proposal by Defendant to narrow the date range, and Defendant is

also exploring the possibility of removing from the review set documents that were previously

reviewed for the other tracking numbers. The parties intend to continue to exchange
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communications and work together over the coming weeks to try to finalize the search

parameters and a review protocol by the end of March. The parties plan to schedule another

teleconference during the first week of April.

       On December 11, 2018, Plaintiffs provided OMB with six documents that had been

redacted based on assertions of the deliberative process privilege under Exemption 5, which

Plaintiffs believe may have been over-redacted. OMB has agreed to review and respond to

Plaintiffs’ objections to those six documents before the next status report is submitted.

       In light of the above, the parties propose to file a further joint status report with the Court

on April 12, 2019. The parties’ next joint status report will include an update on the search

results as a result of the parties’ ongoing meet and confer discussions on narrowing and/or

prioritizing the review, a proposed processing schedule for the remainder of the records that

require further review, and a proposed schedule for further proceedings.




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Dated: March 1, 2019                          Respectfully submitted,

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